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MIDDLE DISTRICT oF FLoRIDA ' ‘ P»'i ¢--' ha
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LEONARDO SILVA,
Plaintiff,

_V_
CASE No.;é`,;; /X~(;\/~ 3§'?~ dCJ|€L' 32- w
WORLD oMNI FlNANClAL coRP,
d/b/a soUTHEAsT ToYoTA
FINANCE,

Det`endant.
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COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, Leonardo Silva, by and through the undersigned counsel,
and sues Defendant, WORLD OMNI FINANCIAL CORP, dfb/a SOUTHEAST
TOYOTA FlNANCE (hereinafter “Defendant”), and in support thereof respectfully
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 er seq.
(“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.
(“FCCPA”).

INTRODUCTION

l. The TCPA Was enacted to prevent companies like Defendant from
invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mc`ms v. Arrow Fin. Servs., LLC, -US--, 132

S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

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3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
Scourge of modern civilization, they wake us up in the morning; they interrupt our dinner
at night; they force the sick and elderly out of bed; they hound us until we want to rip the
telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
intended to give telephone subscribers another option: telling the autodialers to simply
stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 1256 (11‘h Cir. 2014).

4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal
to Protect and Empower Consumers Against Unwam‘ed Robocalls, Texts to Wireless
Phones, Federal Communications Comrnission, (May 27, 2015),
http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-
333676A1.pdf.

JURISDICTION AND VENUE

5. This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

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district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States; and this action involves violations of
47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (l lth Cir. 2014)

8. The alleged violations described herein occurred in Orange County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Orange County, Florida

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11lh Cir. 2014) and osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11"'
Cir. 2014).

13. Defendant is a corporation which was formed in Florida with its principal
place of business located at 190 Jim Moran Blvd., Deerfield Beach, Florida 33442 and
which conducts business in the State of Florida through its registered agent, CT
Corporation System located at 1200 S. Pine Island Road, Plantation FL 33324.

14. The debt that is the subject matter of this Complaint is a “consumer debt”

as defined by Florida Statute §559.55(6).

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15. Defendant is a “creditor” as defined in Florida Statute §559.55(5).

16. Defendant called Plaintiff on Plaintiff" s cellular telephone approximately
150 times in an attempt to collect a debt.

17. Defendant attempted to collect an alleged debt from Plaintiff by this
campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff’ S cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that he knew it was an
autodialer because of the vast number of calls he received and because he was connected
to an automated/pre-recorded message when he answered calls from Defendant.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (786) *** 7619 and was the called party and recipient of Defendant’s calls.

20. Defendant placed an exorbitant number of automated calls to Plaintiff’s
cellular telephone (786) *** 7619 in an attempt to collect on two automobile loans.

21. The auto-dialer calls from Defendant came from telephone numbers
including but not limited to (800) 553-2641, and when those numbers are called a pre-
recorded voice or agent answers and identifies the number as belonging to Defendant.

22. On several occasions since the campaign of collection calls began Plaintiff

instructed Defendant’s agent(s) to stop calling his cellular telephone On one occasion in

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mid-2017 Plaintiff told Defendant’s agent “I’ll pay you when I can, you don’t need to
call.”

23. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff s
cellular telephone in this case.

24. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintiff’ s cellular telephone in
this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

25. Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff; despite these individuals explaining to Defendant they wish for
the calls to stop.

26. Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

27. Defendant has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call despite requested to stop.

28. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers.

29. Defendant’s corporate policy provided no means for Plaintiff to have his
number removed from Defendant’s ca11 list.

30. Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.

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31. Not a single ca11 placed by Defendant to Plaintiff were placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

32. Defendant willfully and/or knowingly violated the TCPA with respect to
Plaintiff.

33. From each and every call placed without consent by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the
intrusion upon his right of seclusion.

34. From each and every ca11 without express consent placed by Defendant to
Plaintiff’ s cellular telephone, Plaintiff suffered the injury of occupation of his cellular
telephone line and cellular telephone by unwelcome calls, making the phone unavailable
for legitimate callers or outgoing calls while the phone was ringing form’s calls.

35. From each and every ca11 placed without express consent by Defendant to
Plaintiff’ s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of
his time. For calls he answered, the time he spent on the ca11 was unnecessary as he
repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste
time to unlock the phone and deal with missed call notifications and call logs that
reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff’s cellular telephone, which are designed to inform the user of important missed
communications

36. Each and every call placed without express consent by Defendant to
Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.

For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

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them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal
with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiff’ s cellular telephone, which are
designed to inform the user of important missed communications

37. Each and every call placed without express consent by Defendant to
Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of
Plaintiff" s cellular telephone’s battery power.

38. Each and every ca11 placed without express consent by Defendant to
Plaintiff s cellular telephone where a voice message was left which occupied space in
Plaintiff’ s phone or network.

39. Each and every ca11 placed without express consent by Defendant to
Plaintiff’ s cellular telephone resulted in the injury of a trespass to Plaintiff’ s chattel,
namely his cellular phone and his cellular phone services.

40. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress,
nervousness, embarrassment, and aggravation

§_OU_N'I_`_I
(Violation of the TCPA)

41. Plaintiff fully incorporates and re-alleges paragraphs l through 40 as if
fully set forth herein.

42. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

notified Defendant that he wished for the calls to stop.

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43. Defendant repeatedly placed non-emergency telephone calls to Plaintist
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiff’s prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against WORLD OMNI FINANCIAL CORP, d/b/a SOUTHEAST
TOYOTA FINANCE for statutory damages, punitive damages, actual damages, treble
damages, enjoinder from further violations of these parts and any other such relief the
court may deem just and proper.

COUNT II
(Violation of the FCCPA)

44. Plaintiff fully incorporates and re-alleges paragraphs 1 through 40 as if
fully set forth herein

45. At all times relevant to this action is subject to and must abide by the laws
of the State of Florida, including Florida Statute § 559.72.

46. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

47. Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

48. Defendant’s actions have directly and proximately resulted in Plaintiff’ s

prior and continuous sustaining of damages as described by Florida Statute § 559.77.

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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against WORLD OMNI FINANCIAL CORP, d/b/a SOUTHEAST
TOYOTA FINANCE for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such
relief the court may deem just and proper.

Respectfully submitted,

/s/F rank H. Kerney,[II

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